Case 3:15-cv-01187-GPC-BGS Document 5 Filed 06/02/15 PageID.61 Page 1 of 13



 1 Justin M. Penn (SBN 302350)
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 2 Aji N. Abiedu (SBN 282794)
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 3 HINSHAW & CULBERTSON LLP
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 4 Los Angeles, CA 90025
   Telephone: 310-909-8000
 5 Facs1mile: 310-909-8001
 6   Attorneys for Defendant HARRIS & HARRIS, LTD.
 7
 8                          UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
10                                                     Case No. 3:15-cv-01187-GPC-BGS
     RENATA KING,
11                                                     (Assigned to the Honorable Gonzalo
                  Plaintiff,
12                                                     P. Curiel Courtroom "2D, 2nd
            vs.                                        Floor")
13                                                     NOTICE OF VOLUNTARY
     HARRIS & HARRIS, LTD.,
14
                                                       DISMISSAL WITHOUT
                  Defendant.                           PREJUDICE
15                                                     Removal Filed: May 28, 2015
16
17
18          TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD
19   HEREIN:
20          PLEASE TAKE NOTICE that Pursuant to Fed. R. Civ. Pro. 41(a),
21   Defendant HARRIS & HARRIS, LTD ("Defendant") voluntarily dismisses the
22   above-captioned action without prejudice.
23          On May 28, 2015, Defendant inadvertently filed in this Court, a Notice of
24   Removal of Los Angeles Superior Court action, entitled King v. Harris & Harris,
25   LTD., and bearing the case number 15K04218.               The Notice of Removal was
26   intended to be filed in the United States District Court, Central District of
27   California, but was instead filed in the United States District Court, Southe1n
28   District of California as a result of unintentional clerical error.
                                                  1
                                  NOTICE OF VOLUNTARY DISMISSAL
                                                                              31595420vl 0972645
Case 3:15-cv-01187-GPC-BGS Document 5 Filed 06/02/15 PageID.62 Page 2 of 13



 1         On May 29, 2015 , the action was removed to United States District Court,
 2   Central District of California, bearing the case number 2:15-cv-04043-CAS-PJW.
 3   Attached hereto as     Exhibit "A" is a true and correct copy of the Notice or
 4   Removal, filed in the United States District Court, Central District of California.
 5         On May 29, 20 15, Defendant filed a Notice of Errata re the Notice of
 6   Removal, requesting that the Court close this action. Attached hereto as Exhibit
 7   "B" is a true and correct copy of the Notice.
 8           On June 1, 2015, the Defendant received an email from the Clerk's Office,
 9   requesting that Defendant file a notice of voluntary dismissal to close the case.
10   Attached hereto as Exhibit "C" is a true and correct copy of the email.
11         Defendant now gives notice that it desires to voluntarily dismiss this action
12   from this Court, pursuant Fed. R. Civ. Pro. 41(a).
13
14   DATED: June 6, 2015                            HINSHAW & CULBERTSON LLP
15
                                             By: s/Aji N. Abiedu
16                                               Aji N. Abiedu
                                                 Attorneys for Defendant HARRIS &
17                                               HARRIS, LTD.
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                                 NOTICE OF VOLUNTARY DISMISSAL
                                                                               31595420v 1 0972645
Case 3:15-cv-01187-GPC-BGS Document 5 Filed 06/02/15 PageID.63 Page 3 of 13




                  EXHIBIT A
Case 3:15-cv-01187-GPC-BGS Document 5 Filed 06/02/15 PageID.64 Page 4 of 13
         ase 2:15-cv-04043 Document 1 Filed 05/29/15 Page 1 of 22 Page ID #:1




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        1160 l 'Wilshire Blvd., Suite 800
   4    Los Angeles, CA 90025
        1;'eleph9ne: 310-909-800q
   5    l'aCSimtle: 310-909-8001
   6    Attorneys for Defendant HARRIS & HARRIS, LTD.
   7
   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTIUCT OF CALffiORNJA
 lO     RENATAKING,                                      CaseNo. _ _ _ _ __ _
 l l                                                     (Assigned to the Honorable
                    Plaintiff,
 12                                                      - - - - - - CoUtiroom "_")
              vs.
 13                                                      DEFENDANT'S NOTICE OF
        HARRIS & HARRIS, LTD.,                           REMOVAL OF CIVILE ACTION
 14                                                      PURSUANT TO 28 U.S.C.
                    Defendant.                           SECTIONS 1331, 1441 AND 1446
 15                                                      fSUBJECT MATTER
 16
                                                         JURISDICTION]

 17                                                      Removal Filed: May 29, 2015
 18
 19
 20           TO THE CLERK OF THE ABOVE-ENTITLED COURT:
 2 1.         PLEASE TAKR NOTICE THAT pursuant to the provisions of 28 U .S.C.
 22     sections 1331, 1441(a) and 1446(b), Defendant HARRIS & HARRIS, LTD.
 23     C'H&H"), hereby removes to this CoUii the state action currently pending in the Los
 24     Angeles County Superior Comt of California, desctibed more fully below:

 25           L     On Apri l 9, 201 5, a civil action was commenced in the Superior Comt
 26     of the State of Califomia, in and :for the County of Los Angeles, entitled Renata
 27     King v. }farris & Harris, LTD. , as case nUinber 15K04218. True and
 28                                                1
                    DEFENDANT'S NOTICE OF REMOVAL OF CIVIL ACTION PURS UANT TO
                                 28 U.S.C. SECTIONS 133 1,1441 AND 1446
                                                                                 31594673vl 0966836
Case 3:15-cv-01187-GPC-BGS Document 5 Filed 06/02/15 PageID.65 Page 5 of 13
       ase 2:15-cv-04043 Document 1 Fil ed 05/29/15 Page 2 of 22 Page ID #:2




      correct copies of all pleadings, process and orders 1n said action served upon H&H
  2   are attached hereto as Exhibit "A" and incorporated herein.
  3         2.     Defendant H&H's registered agent was personally served with a copy
  4   of the summons and complaint between April 9, 2015 and May 19, 2015.
  5         3.     In light of its pendency in I..os Angeles County, the United States
  6   District Cou rt for the Cental District of California, Western Divjsion, is the proper
  7   forum for removalLmder the provisions of 28 U.S.C. secti.ons 84(c1) and 1441(a) and.
  8   1446(b).
  9         4.     This Notice of Removal was fllecl within thirty days of service of the
 10   complaint upon Defendant and one year of the commeneement of the action. It is,
 11   therefore, timely under 28 U.S. C. section 1446(b),
 12         5.     The complaint PU11)0rts to allege a federal cause of action against
 13   Defendant for purported violations of the Fair Debt Collection Practices
 14   (''FDCPA"), 15 U.S.C. §§1692 etseq.
 15         6.     This action is one over whtch this Court has original Jmisdiction under
 16   28 U.S.C. § 133 I and may be removed to this Court pursuant to the provisions of28
 17   U.S.C. sections 144l(a) and 1446(b) in that it is a civil proceeding over which the
 18   distTict courts have original jurisdiction as a claim arising under the laws of the
 19   United States, theFDCPA, 15 U.S.C. §§ 1692 etseq.
 20         WHEREFORE, Defendant hereby notifies Plaintiff Renata King by and
 21   through her attorneys that the above-entitled action, formerly pending in the Los
 22   Angeles County Superior Comt has been removed ftom that eourt to this Court.
 23   Defendant prays that this Court will make any and all orders necessary to effect the
 24   removal of this cause from the Court of the State of California for the County of Los
 25   III
 26
 27
 28                                             2
                   DEFENDANT'S NOTICE OJ< REMOVAL OF CIVIL ACTION PURSUANT TO
                                28 U.S.C. SECTIONS 1331,1441 AND 1446
                                                                                3 t594673v.l 0966836
Case 3:15-cv-01187-GPC-BGS Document 5 Filed 06/02/15 PageID.66 Page 6 of 13
      Case 2:15-cv-04043 Document 1 Filed 05/29/15 Page 3 of 22 Page ID #:3




  1   Angeles and to effect and prepare in this Court the true record of all proceedings
  2   that may have been had in the said state court proceedings.
  3
  4

  5   DAJ.'ED: c;_M_c:_:.a.L_y_;_28"-',---'
                                       - 2-=--0-'
                                           - 15  -"_ _ _ __        HINSHAW & CULBERTSON LLP
  6
                                                              By: s/Aji N. Abiedu
                                                                  AjiN.Abteo_  u__________________
  7
                                                                   Attorneys for Defendant HARRIS &
  8                                                                HARRIS, LTD.
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                       DEFENDANT'S NOTICE OF RBMOV AL OF CiVIL ACTION PURSUANT TO
                       .  .         28 U,S.C, SECTIONS 1331, 1441AND 1446
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Case 3:15-cv-01187-GPC-BGS Document 5 Filed 06/02/15 PageID.67 Page 7 of 13




                  EXHIBITB
Case 3:15-cv-01187-GPC-BGS Document 5 Filed 06/02/15 PageID.68 Page 8 of 13
        Case 3:15-cv-01187-GPC-BGS Document 4 Filed 05/29/15 Page 1 of 28




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       Telephone: 310-909-8000
   5   Facsimile: 31 0-909-8001
   6   Attorneys for Defendant HARRIS & 1-IARRIS, LTD.
   7
   8                                  UNITED STATES DISTRICT COURT
   9                               SOUTHERN DISTRICT OF CAI. ,JJj'ORNIA
  lO   RENATA KING,                                              Case No. 3:15-cv-01187-GPC-BGS
  11                          PlaintifC                          (Assigned to the Honorable Gonza]o
                                                               I P. Curiel Courtroom H2D, 2nd
  12                vs.                                         Floor;')
  13   HARRIS & HARRIS, LTD.,                                   NOTICE ERRATA RE NOTICE
                                                                 OF REMOVAL
  14                          Defendant.
                                                                 R emoval Filed: May 2.8, 201.5
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                                          NOTICE OF ERRATA RE NOTICE OF REMOVAL
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Case 3:15-cv-01187-GPC-BGS Document 5 Filed 06/02/15 PageID.69 Page 9 of 13
       Case 3:15-cv-01187-GPC-BGS Document 4 Filed 05/29/15 Page 2 of 28




   1         TO ALL PARTIES AND TO THEIR ATTORNEYS OJr RECOIID
   2   HEREIN;
   3          PLEASE TAKE NOTICE that on May 28, 2015> Defendant HARlUS &
   4   HARRIS, LTD. , inadvertently filed in this Comt, a Notice of Removal of Los
   5   Angeles Superior Court action, entitled King v. Harris & Harris, LTD., and bearing
   6   the case number 15K042l8. The Notice of Removal was intended to be t11ed in the
   7   United States District Court, Central Di_strict of California, but was instead filed in
   8   the United States District Court, Southern District of California as a result of
   9   unintentional clerical error.
  10          On May 29, 2015, the action was removed to United States District Court,
  11   Central District of California, bearing the case number 2:1 5"cv~04043-CAS -PJW.
  12   Attached hereto as      Exhibit "A" is a true and correct copy of the Notice or
  13   Removal, filed in the United States District Court, Central District of California.
  14   Defendant respectfully requests that this Court close this case, as it has been
  15   removed to the propet forum.
  16          Counsel for Defendant HARRIS & HARRIS, LTD., apologizes to the Court,
  17   cotmsel and parties for any inconvenience this unintentional error may have caused.
  18

  19   DATED: May 29, 201~-----                      lUNSHA W & CULBERTSON LLP
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                                                   s/Aii N. Abiedu
                                               By: -A~,;;:,.-----x--·6
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 21                                                t-:\Jl t'<. {"\_ 1e u .      .
                                                   Attorneys for Defendant HARRIS &
 22                                                HARRIS, LTD.
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                                 NOTICE ERRATA RE NOTICE OF REMOVAL
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Case 3:15-cv-01187-GPC-BGS Document 5 Filed 06/02/15 PageID.70 Page 10 of 13




                  EXHIBIT C
Case 3:15-cv-01187-GPC-BGS Document 5 Filed 06/02/15 PageID.71 Page 11 of 13




             Electronic Filing in Case#: 3:15-cv-01187-GPC-BGS.
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Case Numbe r : 3:15-cv-01187-GPC-BGS, King v. Harris & Harris, Ltd.
Judge Gon zal o P. Curiel, presiding

Document Number: 4
Event selected: Notice (Other)
DocketText: NOTICE by Harris & Harris, Ltd. re [2] Not ice of Appearance,
[1]  Notice of Removal, [3 ] Notice of Party With Financial Interest
<i>Notice of Errata re Notice of Remova l </i> (Abiedu, Aji)
    *******************************************************
Dear Aji Abiedu,

Thank you   f or filing the above documents electronically.
  **** If   this case was filed in the wrong district and you are trying to
close the   case in the Southern District of Cal ifornia, please file a notice of
voluntary   dismissal. ****


Thank you for your attention to this issue.  If you have a ny questions with
regard to this or any future filings, please contact us at 866-233 -798 3.

Quality Control
Cl erk's Office, U.S. District Court
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(dlg)
Case 3:15-cv-01187-GPC-BGS Document 5 Filed 06/02/15 PageID.72 Page 12 of 13



  1                             CERTIFICATE OF SERVICE
  2                          Renata King v. Harris & Harris, LTD.
  3                           Case No. 3:15-CV-01187-GPC-BGS
  4              STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
  5          I am a citizen of the United States and employed in Los Angeles, California,
  6   at the office of a member of the bar of this Court at whose direction this service was
      made. I am over the age of 18 and not a party to the within actions; my business
  7   address is 11601 Wilshire Blvd., Los Angeles, California 90025.
          On June 2, 2015, I served the document(s) entitled, NOTICE OF
  8   VOLUNTARY DISMISSAL, on the interested farties in this action by placing
      trust copies thereof enclosed in a sealed envelope(s addressed as stated below:
  9
 10                           SEE ATTACHED SERVICE LIST

 11
      0   (BY MAIL) : I deposited such envelope in the mail at Los Angeles, California
      wtth postage fully prepaid. I am readiiy familiar with this firm's practice of
      collection and processing correspondence for mailing. Under thatpractice it would
 12   be placed for collection and mailing, and deposited with the U .S. Postal Service on
      that same day with postage thereon fully prepaid at Los Angeles, California, in the
 13   ordinary course of 5usiness. I am aware that on motion of party served, service is
      presumed invalid if postal cancellation date or postage meter date is more than 1 day
 14   after date of deposit for mailing in affidavit.
 15   D (VIA OVERNIGHT MAIL): I am "readily familiar" with the finn's
      practice of collection and processing correspondence for overnight delivery. Under
 16   that practice it would be deposited in a box or other facility regularly maintained by
      the express service carrier, or delivered to an authorized courier or driver authorizea
17    by the express service carrier to receive documents, in an envelope or package
      designated bY. the express service carrier with delivery fees paid or proviued for,
18    addressed to the person on whom it is to be served, at the office address as last given
      by that person on any document filed in the cause and served on the party making
19    service; otherwise at that party's place of residence.
20    n   (BY ELECTRONIC MAIL):              By transmitting a true copy thereof to the
      electronic mail addresses as indicated below.
21
22    D (BY FACSIMILE): By transmitting an accurate copy via facsimile to the
      person and telephone number as stated.
23    rx1 (BY CMIECF SERVICE): I caused such                        document(s)                  to       be        delivered
      electronically via CM/ECF as noted herein.
24
            I declare under penalty of pe1jury under the laws of the United States that the
25    above is true and correct and was executed on June 2, 2015, at Los Angeles,
26    California.                                    ~                           t/J
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                                      CERTIFICATE OF SERVICE
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Case 3:15-cv-01187-GPC-BGS Document 5 Filed 06/02/15 PageID.73 Page 13 of 13



  1                                SERVICE LIST
  2                      Renata King v. Harris & Harris, LTD.
  3                      Case No. 3:15-CV-001187-GPC-BGS
  4
      Todd Friedman (SBN 216752)                    Attorneys for Plaintiff RENATA
  5   Suren N . Weerasuriya (SBN 278521)            KING
      Adrian R. Bacon (SBN 280332)
  6   LAW OFFICES OF TODD M . FRIEDMAN
      324 S. Beverly Drive, Suite 725
  7   Beverly Hills, CA 90212
      Phone: (877) 206-4741
  8   Facsimile: (866) 633-0228
      Emails:
  9   tfriedman@attorneysforconsumers.com;
      sweerasunya@attorneysforconsumers.com;
 10   abacon@attomeysforconsumers.com
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